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                             CAUSE NO. C-0882-15-F
                                       _____________________


TEMPLO PENTECOSTES                            §                     IN THE DISTRICT COURT
SINAI-BETHESDA,                               §
      Plaintiff,                              §
                                              §
                                              §
vs.                                           §                   HIDALGO COUNTY, TEXAS
                                              §
CHURCH MUTUAL INSURANCE                       §
COMPANY,                                      §
    Defendant.                                §                      ____ JUDICIAL DISTRICT

                           PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Templo Pentecostes Sinai-Bethesda (hereinafter “Plaintiff”), and

complains of Church Mutual Insurance Company (hereinafter “Defendant”). In support of its

claims and causes of action, Plaintiff would respectfully show the Court as follows:

                                      DISCOVERY LEVEL

         1.    Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

the Texas Rules of Civil Procedure.

                                 JURISDICTION AND VENUE

         2.    This Court has jurisdiction to hear Plaintiff’s claims under Texas common law and

Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

this suit occurred within the city of Pharr, in Hidalgo County, Texas.

                                             PARTIES

         3.    Plaintiff is an individual whose residence is located in Pharr, Hidalgo County,

Texas.
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          4.       Defendant Church Mutual is a foreign corporation, duly registered with the Texas

Department of Insurance to do business in Texas, which may be served with process by serving

this Original Petition and a copy of the citation on its Registered Agent, Corporation Service

Company, at its registered address, 211 East 7th Street, Suite 620, Austin, Texas 78701-3218, or

wherever it may be found.

                                            BACKGROUND

          5.       This matter revolves largely around a first party insurance dispute regarding the

extent of damages and amount of loss suffered to the Plaintiff’s Property, which is located at 208

Ruisenor Ave., Pharr, TX 78577, (the “Property”). In addition to seeking economic and penalty

based damages from Defendant, Plaintiff also seeks compensation from Defendant for damages

caused by improperly investigating the extensive losses associated with this case.

          6.       Plaintiff owns the Property.

          7.       Prior to the occurrence in question, Plaintiff purchased a commercial insurance

policy from Defendant to cover the Property at issue in this case for a loss due to storm-related

events.        Plaintiff’s Property suffered storm-related damage. Through its commercial policy,

025144302350167, Plaintiff was objectively insured for the subject loss by Defendant.

          8.       On or around June 7, 2013, the Property suffered incredible damage due to storm

related conditions.

          9.       In the aftermath, Plaintiff relied on Defendant to help begin the rebuilding

process. By and through its commercial policy, Plaintiff was objectively insured for the subject

losses in this matter.




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        10. Pursuant to its obligation as a policyholder, Plaintiff made complete payment of all

commercial insurance premiums in a timely fashion. Moreover, its commercial policy covered

Plaintiff during the time period in question.

        11.     Despite Plaintiff’s efforts, Defendant continually failed and refused to pay

Plaintiff in accordance with its promises under the Policy.

        12.   Moreover, Defendant has failed to make any reasonable attempt to settle Plaintiff’s

claims in a fair manner, although its liability to the Plaintiff under the policy is without dispute.

        13.     In the months following, Plaintiff provided information to Defendant, as well as

provided opportunities for Defendant to inspect the Property.         However, Defendant failed to

conduct a fair investigation into the damage to the Property. Moreover, Defendant failed to

properly inspect the Property and its related damages, failed to properly request information,

failed to properly investigate the claim, failed to timely evaluate the claim, failed to timely

estimate the claim, and failed to timely and properly report and make recommendations in regard

to Plaintiff’s claims.

        14.     Despite Defendant’s improprieties, Plaintiff continued to provide information

regarding the losses and the related claim to Defendant.           Further, Plaintiff made inquiries

regarding the status of the losses, and payments. Regardless, Defendant failed and refused to

respond to the inquiries, and failed to properly adjust the claim and the losses. As a result, to this

date, Plaintiff has not received proper payment for its claim, even though notification was

provided.

        15.     Defendant has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. Defendant has furthermore failed to offer Plaintiff

adequate compensation without any explanation why full payment was not being made.
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Defendant did not communicate that any future settlements or payments would be forthcoming

to pay the entire losses covered under the policy.

        16.    Defendant has further failed to affirm or deny coverage within a reasonable time.

Plaintiff also did not receive timely indication of acceptance or rejection regarding the full and

entire claim in writing from Defendant in a timely manner.

        17.    Defendant has, to date, refused to fully compensate Plaintiff under the terms of

the policy for which Plaintiff paid, even though it was Defendant that failed to conduct a

reasonable investigation.    Ultimately, Defendant performed a result-oriented investigation of

Plaintiff’s claim that resulted in an unfair, biased and inequitable evaluation of Plaintiff’s losses.

        18.    Defendant has failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff’s claim, beginning an investigation of Plaintiff’s claim,

and requesting all information reasonably necessary to investigate Plaintiff’s claims within the

time period mandated by statute.

        19.    As a result of the above issues, Plaintiff did not receive the coverage for which it

had originally contracted with Defendant. Unfortunately, Plaintiff has, therefore, been forced to

file this suit in order to recover damages arising from the above conduct, as well as overall from

the unfair refusal to pay insurance benefits.

        20. In addition, Defendant has failed to place adequate and proper coverage for Plaintiff

causing Plaintiff to suffer further damages. As indicated below, Plaintiff seeks relief under the

common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

Code.

                                  CONDITIONS PRECEDENT

        21.    All conditions precedent to recovery by Plaintiff has been met or has occurred.
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                                           AGENCY

       22.    All acts by Defendant were undertaken and completed by its officers, agents,

servants, employees, and/or representatives. Such were either done with the full authorization or

ratification of Defendant and/or were completed in its normal and routine course and scope of

employment with Defendant.

                             CLAIMS AGAINST DEFENDANT

       23.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

                                            A.
                                        NEGLIGENCE

       24.     Defendant had and owed a legal duty to Plaintiff to properly adjust the structural

and property damage and other insurance losses associated with the Property.            Defendant

breached this duty in a number of ways, including but not limited to the following:

               a.     Defendant was to exercise due care in adjusting and paying policy
                      proceeds regarding Plaintiff’s Property loss;

               b.     Defendant had a duty to competently and completely handle and pay all
                      damages associated with Plaintiff’s Property; and/or

               c.     Defendant failed to properly complete all adjusting activities associated
                      with Plaintiff.

       25.     Defendant’s acts, omissions, and/or breaches did great damage to Plaintiff, and

were a proximate cause of Plaintiff’s damages.

                                          B.
                                  BREACH OF CONTRACT

       26.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

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       27.     According to the policy that Plaintiff purchased, Defendant had the absolute duty

to investigate Plaintiff’s damages, and to pay Plaintiff’s policy benefits for the claims made due

to the extensive storm-related damages.

       28.     As a result of the storm-related event, Plaintiff suffered extreme external and

internal damages.

       29.     Despite objective evidence of such damages, Defendant has breached its

contractual obligations under the subject insurance policy by failing to pay Plaintiff benefits

relating to the cost to properly repair Plaintiff’s Property, as well as for related losses. As a result

of this breach, Plaintiff has suffered actual and consequential damages.

                                        C.
                       VIOLATIONS OF TEXAS DECEPTIVE TRADE
                         PRACTICES ACT AND TIE-IN-STATUTES

       30.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

       31.     Defendant’s collective actions constitute violations of the DTPA, including but

not limited to, Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas

Business & Commerce Code. Defendant collectively engaged in false, misleading, or deceptive

acts or practices that included, but were not limited to:

               a.      Representing that an agreement confers or involves rights, remedies, or
                       obligations which it does not have or involve, or which are prohibited by
                       law;

               b.      Misrepresenting the authority of a salesman, representative, or agent to
                       negotiate the final terms of a consumer transaction;

               c.      Failing to disclose information concerning goods or services which were
                       known at the time of the transaction, and the failure to disclose such
                       information was intended to induce the consumer into a transaction into

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                      which the consumer would not have entered had such information been
                      disclosed;

               d.     Using or employing an act or practice in violation of the Texas Insurance
                      Code;

               e.     Unreasonably delaying the investigation, adjustment and resolution of
                      Plaintiff’s claim;

               f.     Failure to properly investigate Plaintiff’s claim; and/or

               g.     Hiring and relying upon a biased engineer and/or adjuster to obtain a
                      favorable, result-oriented report to assist Defendant in low-balling and/or
                      denying Plaintiff’s damage claim.

       32.    As described in this Original Petition, Defendant represented to Plaintiff that its

insurance policy and Defendant’s adjusting and investigative services had characteristics or

benefits that it actually did not have, which gives Plaintiff the right to recover under Section

17.46 (b)(5) of the DTPA.

       33.    As described in this Original Petition, Defendant represented to Plaintiff that its

insurance policy and Defendant’s adjusting and investigative services were of a particular

standard, quality, or grade when they were of another, which stands in violation of Section 17.46

(b)(7) of the DTPA.

       34.     By representing that Defendant would pay the entire amount needed by Plaintiff

to repair the damages caused by the storm-related event and then not doing so, Defendant has

violated Sections 17.46 (b)(5), (7) and (12) of the DTPA.

       35.     Defendant has breached an express warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies.          This breach entitles

Plaintiff to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.



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       36.      Defendant’s actions, as described herein, are unconscionable in that it took

advantage of Plaintiff’s lack of knowledge, ability, and experience to a grossly unfair degree.

Defendant’s unconscionable conduct gives Plaintiff the right to relief under Section 17.50(a)(3)

of the DTPA.

       37.      Defendant’s conduct, acts, omissions, and failures, as described in this Original

Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of

the DTPA.

       38.      Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices made by Defendant to its detriment. As a direct and

proximate result of Defendant’s collective acts and conduct, Plaintiff has been damaged in an

amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff now

sues. All of the above-described acts, omissions, and failures of Defendant are a producing cause

of Plaintiff’s damages that are described in this Original Petition.

       39.      Because Defendant’s collective actions and conduct were committed knowingly

and intentionally, Plaintiff is entitled to recover, in addition to all damages described herein,

mental anguish damages and additional penalty damages, in an amount not to exceed three times

such actual damages, for Defendant having knowingly committed its conduct. Additionally,

Plaintiff is ultimately entitled to recover damages in an amount not to exceed three times the

amount of mental anguish and actual damages due to Defendant having intentionally committed

such conduct.

       40.      As a result of Defendant’s unconscionable, misleading, and deceptive actions and

conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to

protect and pursue these claims on its behalf. Accordingly, Plaintiff also seeks to recover its
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costs and reasonable and necessary attorneys’ fees as permitted under Section 17.50(d) of the

Texas Business & Commerce Code, as well as any other such damages to which Plaintiff may

show itself to be justly entitled at law and in equity.

                                         D.
                        VIOLATIONS OF TEXAS INSURANCE CODE

       41.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

within the foregoing paragraphs.

       42.     Defendant’s actions constitute violations of the Texas Insurance Code, including

but not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section

541.060), Article 21.21 Section 11(e) (codified as Section 541.061), and Article 21.55 Section

3(f) (codified as Section 542.058).        Specifically, Defendant engaged in certain unfair or

deceptive acts or practices that include, but are not limited to the following:

               a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                       settlement of a claim with respect to which the insurer’s liability has
                       become reasonably clear;

               b.      Failing to provide promptly to a policyholder a reasonable explanation of
                       the basis in the policy, in relation to the facts or applicable law, for the
                       insurer’s denial of a claim or for the offer of a compromise settlement of a
                       claim;

               c.      Refusing to pay a claim without conducting a reasonable investigation
                       with respect to the claim;

               d.      Forcing Plaintiff to file suit to recover amounts due under the policy by
                       refusing to pay all benefits due;

               e.      Misrepresenting an insurance policy by failing to disclose any matter
                       required by law to be disclosed, including a failure to make such
                       disclosure in accordance with another provision of this code; and/or

               f.      Failing to pay a valid claim after receiving all reasonably requested and
                       required items from the claimant.

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        43.    Plaintiff is the insured or beneficiary of a claim which was apparently valid as a

result of the unauthorized acts of Defendant, and Plaintiff relied upon these unfair or deceptive

acts or practices by Defendant to its detriment. Accordingly, Defendant became the insurer of

Plaintiff.

        44.    As a direct and proximate result of Defendant’s acts and conduct, Plaintiff has

been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for

which it now sues.

        45.    Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

and because Defendant’s actions and conduct were committed knowingly and intentionally,

Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish

damages and additional damages in an amount not to exceed three times the amount of actual

damages, for Defendant having knowingly committed such conduct. Additionally, Plaintiff is

entitled to recover damages in an amount not to exceed three times the amount of mental and

actual damages for Defendant having intentionally committed such conduct.

        46.    As a result of Defendant’s unfair and deceptive actions and conduct, Plaintiff has

been forced to retain the legal services of the undersigned attorneys to protect and pursue these

claims on its behalf. Accordingly, Plaintiff also seeks to recover its costs and reasonable and

necessary attorneys’ fees as permitted under Section 17.50(d) of the Texas Business &

Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas

Insurance Code and any other such damages to which Plaintiff may show itself justly entitled by

law and in equity.




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                                         E.
                          BREACH OF THE COMMON-LAW DUTY
                           OF GOOD FAITH AND FAIR DEALING

       47.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       48.     By its acts, omissions, failures and conduct, Defendant has breached its common

law duty of good faith and fair dealing by denying Plaintiff’s claims or inadequately adjusting

and making an offer on Plaintiff’s claims without any reasonable basis, and by failing to conduct

a reasonable investigation to determine whether there was a reasonable basis for this denial.

       49.     Defendant has also breached this duty by unreasonably delaying payment of

Plaintiff’s entire claims and by failing to settle Plaintiff’s claims, as Defendant knew or should

have known that it was reasonably clear that Plaintiff’s storm-related claims were covered.

These acts, omissions, failures, and conduct by Defendant is a proximate cause of Plaintiff’s

damages.

                                            F.
                                BREACH OF FIDUCIARY DUTY

       50.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       51.     Defendant had a fiduciary relationship, or in the alternative, a relationship of trust

and confidence with Plaintiff. As a result, Defendant owed a duty of good faith and fair dealing

to Plaintiff. Defendant breached that fiduciary in that:

               a.       The transaction was not fair and equitable to Plaintiff;

               b.       Defendant did not make reasonable use of the confidence that Plaintiff
                        placed upon it;



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               c.       Defendant did not act in the utmost good faith and did not exercise the
                        most scrupulous honesty toward Plaintiff;

               d.       Defendant did not place the interests of Plaintiff before its own, and
                        Defendant used the advantage of its position to gain a benefit for itself, at
                        Plaintiff’s expense;

               e.       Defendant placed itself in a position where its self-interest might conflict
                        with its obligations as a fiduciary; and/or

               f.       Defendant did not fully and fairly disclose all important information to
                        Plaintiff concerning the sale of the policy.

       52.     Defendant is liable for Plaintiff’s damages for breach of fiduciary duty, as such

damages were objectively caused by Defendant’s conduct.

                                          G.
                              UNFAIR INSURANCE PRACTICES

       53.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       54.     Plaintiff has satisfied all conditions precedent to bringing these causes of action.

By its acts, omissions, failures, and conduct, Defendant has engaged in unfair and deceptive acts

or practices in the business of insurance in violation of Chapter 541 of the Texas Insurance Code.

       55.     Such violations include, without limitation, all the conduct described in this

Original Petition, plus Defendant’s failure to properly investigate Plaintiff’s claim. Plaintiff also

includes Defendant’s unreasonable delays in the investigation, adjustment, and resolution of

Plaintiff’s claims and Defendant’s failure to pay for the proper repair of Plaintiff’s Property, as to

which Defendant’s liability had become reasonably clear.

       56.     Additional violations include Defendant’s hiring of and reliance upon biased

adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

and denying Plaintiff’s storm-related damage and related claims.           Plaintiff further includes
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Defendant’s failure to look for coverage and give Plaintiff the benefit of the doubt, as well as

Defendant’s misrepresentations of coverage under the subject insurance policy. Specifically,

Defendant is also guilty of the following unfair insurance practices:

               a.       Engaging in false, misleading, and deceptive acts or practices in the
                        business of insurance in this case;

               b.       Engaging in unfair claims settlement practices;

               c.       Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
                        the coverage at issue;

               d.       Not attempting in good faith to effectuate a prompt, fair, and equitable
                        settlement of Plaintiff’s claims as to which Defendant’s liability had
                        become reasonably clear;

               e.       Failing to affirm or deny coverage of Plaintiff’s claims within a reasonable
                        time and failing within a reasonable time to submit a reservation of rights
                        letter to Plaintiff;

               f.       Refusing to pay Plaintiff’s claims without conducting a reasonable
                        investigation with respect to the claims; and/or

               g.       Failing to provide promptly to a policyholder a reasonable explanation of
                        the basis in the insurance policy, in relation to the facts or applicable law,
                        for the denial of a claim or for the offer of a compromise settlement.

       57.     Defendant has also breached the Texas Insurance Code when it breached its duty

of good faith and fair dealing. Defendant’s conduct as described herein has resulted in Plaintiff’s

damages that are described in this Original Petition.

                                            H.
                                    MISREPRESENTATION

       58.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.




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        59.     Defendant is liable to Plaintiff under the theories of intentional misrepresentation,

or in the alternative, negligent misrepresentation. Essentially, Defendant did not inform Plaintiff

of certain exclusions in the policy. Misrepresentations were made with the intention that they

should be relied upon and acted upon by Plaintiff who relied on the misrepresentations to its

detriment. As a result, Plaintiff has suffered damages, including but not limited to loss of the

Property, loss of use of the Property, mental anguish and attorney’s fees. Defendant is liable for

these actual consequential and penalty-based damages.

                                     I.
              COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

        60.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

        61.     Plaintiff would show that Defendant perpetrated fraud by misrepresentation

(either intentionally or negligently) by falsely representing a fact of materiality to Plaintiff, who

relied upon such representations that ultimately resulted in its injuries and damages.

Alternatively, Defendant fraudulently concealed material facts from Plaintiff, the result of which

caused damage to Plaintiff as a result of the storm-related damages.

        62.     Specifically, and as a proximate cause and result of this fraudulent concealment,

fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

consent of Plaintiff, Plaintiff has sustained damages far in excess of the minimum jurisdictional

limits of this Court.

        63.     By reason of Plaintiff’s reliance on Defendant fraudulent representations,

negligent misrepresentations and/or fraudulent concealment of material facts as described in this

complaint, Plaintiff has suffered actual damages for which he now sues.


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         64.    Plaintiff further alleges that because Defendant knew that the misrepresentations

made to Plaintiff were false at the time they were made, such misrepresentations are fraudulent,

negligent or grossly negligent on the part of Defendant, and constitute conduct for which the law

allows the imposition of exemplary damages.

         65.    In this regard, Plaintiff will show that it has incurred significant litigation

expenses, including attorneys’ fees, in the investigation and prosecution of this action.

         66.    Accordingly, Plaintiff requests that penalty damages be awarded against

Defendant in a sum in excess of the minimum jurisdictional limits of this Court.

                                  WAIVER AND ESTOPPEL

         67.    Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

         68.    Defendant has waived and is estopped from asserting any defenses, conditions,

exclusions, or exceptions to coverage not contained in any Reservation of Rights or denial letters

to Plaintiff.

                                           DAMAGES

         69.    Defendant’s acts have been the producing and/or proximate cause of damage to

Plaintiff, and Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this

Court.

         70.    More specifically, Plaintiff seeks monetary relief of over $200,000, but not more

than $1,000,000 including damages of any kind, penalties, costs, expenses, pre-judgment

interest, and attorney fees.




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                               ADDITIONAL DAMAGES & PENALTIES

        71.      Defendant’s conduct was committed knowingly and intentionally. Accordingly,

Defendant is liable for additional damages under the DTPA, section 17.50(b) (1), as well as all

operative provisions of the Texas Insurance Code. Plaintiff is, thus, clearly entitled to the 18%

damages allowed by the Texas Insurance Code.

                                         ATTORNEY FEES

        72.      In addition, Plaintiff is entitled to all reasonable and necessary attorneys’ fees

pursuant to the Texas Insurance Code, DTPA, and sections 38.001-.005 of the Civil Practice and

Remedies Code.

                                          JURY DEMAND

        73.      Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.

                                  REQUEST FOR DISCLOSURE

        74.      Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that Defendant

disclose all information and/or material as required by Rule 194.2, paragraphs (a) through (l),

and to do so within 50 days of this request.

                                 REQUEST FOR PRODUCTION

        75.      Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.

              a.    Please produce Defendant complete claim files from the home, regional, local
            offices, and third party adjusters/adjusting firms regarding the claims that are the
            subject of this matter, including copies of the file jackets, “field” files and notes, and
            drafts of documents contained in the file for the premises relating to or arising out of
            Plaintiff’s underlying claim.


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          b.    Please produce the underwriting files referring or relating in any way to the
         policy at issue in this action, including the file folders in which the underwriting
         documents are kept and drafts of all documents in the file.

           c.   Please produce certified copy of the insurance policy pertaining to the claims
         involved in this suit.

           d.    Please produce the electronic diary, including the electronic and paper notes
         made by Defendant claims personnel, contractors, and third party adjusters/adjusting
         firms relating to the Plaintiff’s claims.

           e.    Please produce all emails and other forms of communication by and between all
         parties in this matter relating to the underlying event, claims or the Property, which is
         the subject of this suit.

          f.    Please produce the adjusting reports, estimates and appraisals prepared
         concerning Plaintiff’s underlying claim.

          g.     Please produce the field notes, measurements and file maintained by the
         adjuster(s) and engineers who physically inspected the subject Property.

          h.     Please produce the emails, instant messages and internal correspondence
         pertaining to Plaintiff’s underlying claim(s).

          i.     Please produce the videotapes, photographs and recordings of Plaintiff or
         Plaintiff’s home, regardless of whether Defendant intends to offer these items into
         evidence at trial.

                                       INTERROGATORIES

       76.        Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Interrogatories.

           a.       Please identify any person Defendant expects to call to testify at the time of
         trial.

           b.    Please identify the persons involved in the investigation and handling of
         Plaintiff’s claims for insurance benefits arising from damage relating to the underlying
         event, claims or the Property, which is the subject of this suit, and include a brief
         description of the involvement of each person identified, their employer, and the date(s)
         of such involvement.



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           c.    If Defendant or Defendant’s representatives performed any investigative steps
         in addition to what is reflected in the claims file, please generally describe those
         investigative steps conducted by Defendant or any of Defendant’s representatives with
         respect to the facts surrounding the circumstances of the subject loss. Identify the
         persons involved in each step.

          d.    Please identify by date, author, and result the estimates, appraisals, engineering,
         mold and other reports generated as a result of Defendant’s investigation.

          e.       Please state the following concerning notice of claims and timing of payment:

                       i.     The date and manner in which Defendant received notice of the
                               claim;
                        ii.    The date and manner in which Defendant acknowledged
                               receipt of the claim;
                        iii.   The date and manner in which Defendant commenced
                               investigation of the claim;
                        iv.    The date and manner in which Defendant requested from the
                               claimant all items, statements, and forms that Defendant
                               reasonably believed, at the time, would be required from the
                               claimant; and
                        v.     The date and manner in which Defendant notified the claimant
                               in writing of the acceptance or rejection of the claim.

          f.   Please identify by date, amount and reason, the insurance proceed payments
         made by Defendant, or on Defendant’s behalf, to the Plaintiff.

           g.    Have Plaintiff’s claims for insurance benefits been rejected or denied in full or
         in part? If so, state the reasons for rejecting/denying the claim.

          h.       When was the date Defendant anticipated litigation?

           i.    Have any documents (including those maintained electronically) relating to the
         investigation or handling of Plaintiff’s claims for insurance benefits been destroyed or
         disposed of? If so, please identify what, when and why the document was destroyed,
         and describe Defendant’s document retention policy.

           j.    Does Defendant contend that the insured premises was damaged by storm-
         related events and/or any excluded peril? If so, state the general factual basis for this
         contention.

           k.    Does Defendant contend that any act or omission by the Plaintiff voided,
         nullified, waived or breached the insurance policy in any way? If so, state the general
         factual basis for this contention.
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            l.    Does Defendant contend that the Plaintiff failed to satisfy any condition
          precedent or covenant of the policy in any way? If so, state the general factual basis for
          this contention.

            m. How is the performance of the adjuster(s) involved in handling Plaintiff’s
          claims evaluated? State the following:

                       i.      what performance measures are used; and
                       ii.     describe Defendant’s bonus or incentive plan for adjusters.


                                          CONCLUSION

       77.     Plaintiff prays that judgment be entered against Church Mutual Insurance

Company, and that Plaintiff be awarded all of its actual damages, consequential damages,

prejudgment interest, additional statutory damages, post judgment interest, reasonable and

necessary attorney fees, court costs and for all such other relief, general or specific, in law or in

equity, whether pled or un-pled within this Original Petition.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays it be awarded all such relief

to which it is due as a result of the acts of Church Mutual Insurance Company, and for all such

other relief to which Plaintiff may be justly entitled.




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                                           Respectfully submitted,

                                           THE VOSS LAW FIRM, P.C.
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